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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                 Plaintiff,                               Case No. CR06-041L
11          v.                                              ORDER DENYING MOTION FOR
12                                                          RECONSIDERATION
     RICHARD ALLEN FABEL,
13   RODNEY ROLLNESS,
     JOSHUA BINDER,
14   RICKY JENKS, and
     PAUL FOSTER
15                 Defendants.
16
17         This matter comes before the Court on the Government’s “Motion for Reconsideration of

18 Court’s Order to Sever Defendant Paul Foster” (Dkt. #369). On November 29, 2006, the Court
19 granted defendant Foster’s motion for severance (Dkt. #307). The Government now asks the
20 Court to reconsider that order.
21         “Motions for reconsideration are disfavored. The court will ordinarily deny such motions

22 in the absence of a showing of manifest error in the prior ruling or a showing of new facts or
23 legal authority which could not have been brought to its attention earlier with reasonable
24 diligence.” Local Rule CrR 12(c)(11)(A). While the Government has forcefully argued its
25 position that severance is not justified in this situation, it has not put forward any new facts or
26 legal authority that were not before the Court on Foster’s original motion. Nor has it

     ORDER DENYING MOTION FOR
     RECONSIDERATION 1
         Case 2:06-cr-00041-RSL      Document 453      Filed 01/30/07     Page 2 of 2



1 demonstrated “manifest error” in the Court’s prior ruling. As such, the Government’s motion for
2 reconsideration (Dkt. #369) is DENIED.
3
4        DATED this 30th day of January, 2007
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                                           A
                                           Robert S. Lasnik
8                                          United States District Judge

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     ORDER DENYING MOTION FOR
     RECONSIDERATION 1

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